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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT


 STRIKE 3 HOLDINGS, LLC,
                                                     Civil Action No. 3:18-cv-00993-AWT
            Plaintiff,

 v.

 JOHN DOE subscriber assigned IP address
 67.85.12.118,

            Defendant.


                   MOTION FOR LEAVE TO SERVE A THIRD PARTY
                   SUBPOENA PRIOR TO A RULE 26(f) CONFERENCE

       Pursuant to Fed. R. Civ. P. 26(d)(1), and upon the attached: (1) Memorandum of Law in

support of this motion; (2) Declaration of Greg Lansky in support of this motion; (3) Declaration

of Tobias Fieser in support of this motion; (4) Declaration of Philip Pasquale in support of this

motion; and, (5) Declaration of Susan B. Stalzer in support of this motion, Strike 3 Holdings, LLC

(“Plaintiff”), respectfully moves for entry of an order granting it leave to serve a third party

subpoena on Optimum Online, prior to a Rule 26(f) conference (the “Motion”). A proposed order

is attached for the Court’s convenience.


Dated: 07/03/2018
                                                    Respectfully submitted,

                                             By:     /s/ Jacqueline M. James
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